[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court, having thoroughly and carefully reviewed the record in this case including the filed stipulation of facts and the Memorandum of Decision dated February 22, 2000, in Michael Robinson v. Commissioner ofCorrection, Docket no. CV97-405187, appeal pending S.C.16368, and the Memorandum of Decision in Gus Woods v. Commissioner of Correction, CV99-587087, Judicial District of Hartford (Rittenband, J., 9/13/00), orders as follows:
Judgment shall enter for the petitioner based on the earlier decisions mentioned herein. It is therefore ordered that the petitioner's parole eligibility be determined based on the law in effect on the date of commission of his offense, on or about December 1991.
SO ORDERED.
By the Court,
Anthony V. DeMayo, Judge of the Superior Court. CT Page 4664